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DISTRICT COURT, MORGAN COUNTY, STATE
OF COLORADO
400 Warner Street, Fort Morgan, CO 80701                                 DATE FILED: May 30, 2017 3:40 PM
                                                                         FILING ID: 778FE3E37D9D1
ELIZABETH RAMOS,                                                         CASE NUMBER: 2017CV30047
Plaintiff

v.
                                                                  COURT USE ONLY 
PLAN DE SALUD DEL VALLE, INC., d/b/a
SALUD FAMILY HEALTH CENTERS, INC., a
Colorado Nonprofit Corporation,
Defendant.
Attorney for Plaintiff:                           Case Number:
Kelli R. Riley, Esq. Atty. Reg. # 44828
RILEY LAW LLC                                     Division:
2005 West 9th Street, Suite 6
Greeley, Colorado 80631                           Ctrm:
Telephone: 970-301-1350 Fax: 970-797-1226
kelli@RILEYLAWLLC.com
                                        COMPLAINT

      Plaintiff Elizabeth Ramos, by and through her counsel, Kelli R. Riley, hereby files this
complaint against PLAN DE SALUD DEL VALLE, INC., d/b/a SALUD FAMILY HEALTH
CENTERS, INC. (“Defendant”). In support of this complaint, Plaintiff states the following:

                                 STATEMENT OF THE CASE

    1. Plaintiff was an employee of Defendant. Following a medically diagnosed disability, Ms.
Ramos requested reasonable, available accommodations from her employer, which Defendant
denied. Plaintiff took medical leave to get her medical condition under control and Defendant
terminated her employment shortly after returning from leave. Plaintiff brings claims for wrongful
termination in violation of public policy and discrimination on the basis of an actual disability.

                          PARTIES, JURISDICTION, AND VENUE

   2. Plaintiff is a resident of Log Lane Village, Colorado, a statutory town in Morgan County,
near Fort Morgan, Colorado.

     3. Defendant is a Colorado nonprofit corporation.

     4. Defendant has its principal place of business in Fort Lupton, Colorado.


                                                                       EXHIBIT A
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    5. Venue is proper because Defendant is a corporation that has a location in Morgan County,
C.R.C.P. 98(c)(1), Morgan is the county designated in the complaint, C.R.C.P. 98(c)(1), and this
is an action arising from acts that were committed in Morgan County, C.R.C.P. 98(c)(5).

                                              FACTS

    6. Defendant is a low-cost health care service provider with approximately fifteen locations
throughout northern Colorado including, as pertinent here, Fort Morgan, Colorado.

   7. Defendant employed Plaintiff from 2007 to approximately October 30, 2015.

   8. Plaintiff was employed as a medical assistant and, beginning in 2014, an Immunization
Coordinator. Plaintiff performed her job duties satisfactorily.

    9. On or about July 22, 2015, Plaintiff received a medical diagnosis, severe eczema on both
hands, that required her to wash her hands less frequently for at least three weeks. Her medical
provider determined that the eczema was aggravated by her work. On or about that same day,
Plaintiff requested Sandalyn Garcia, the Medical Support Manager, accommodate her disability
by allowing Plaintiff to limit her hand washing to four times per day, consistent with orders from
Plaintiff’s doctor.

   10. Defendant, through its agent Sandalyn Garcia, unreasonably denied Plaintiff’s reasonable
request for accommodation.

   11. Plaintiff could accomplish her essential job functions with temporary accommodations
from Defendant and Defendant would not be unduly burdened by any of the accommodations
available to Plaintiff.

    12. Due to Defendant’s denial of Plaintiff’s accommodation request, Plaintiff took medical
leave on or about August 4, 2015. Plaintiff was placed on short term disability and worker’s
compensation.

   13. When Plaintiff attempted to return to work, she was told that she still could not be
accommodated and would likely lose her job if she continued to ask for accommodations.

   14. Defendant terminated Plaintiff’s employment on or about October 30, 2015.

    15. On or about December 2, 2015, Plaintiff began employment at Banner Health in a virtually
identical position. Banner Health has reasonably accommodated Plaintiff’s condition at no burden
to the clinic.




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                                FIRST CLAIM FOR RELIEF
                        (Wrongful Discharge in Violation of Public Policy)

    16. Plaintiff hereby incorporates all allegations of the Complaint as though fully set forth
herein.

    17. Plaintiff is granted the specific right as a worker to apply for and receive medical treatment
and compensation under the Workers’ Compensation Act of Colorado, Colorado Revised Statutes,
section 8-40-101, et seq.

   18. Plaintiff exercised an important job-related right when she applied for medical treatment
and compensation for her work-related injuries.

   19. Defendant was aware that Plaintiff applied for medical treatment and compensation for her
work-related injuries.

   20. Defendant terminated Plaintiff for doing so, in violation of public policy.

    21. As a direct and proximate result of Defendant’s wrongful retaliatory termination of
Plaintiff’s employment, Plaintiff has sustained damages, including, without limitation, past
and future wage and benefit losses, reputational damages, emotional distress, inconvenience,
humiliation, and mental suffering.

                               SECOND CLAIM FOR RELIEF
                       (Discrimination on the Basis of a Disability-CADA)

   22. Plaintiff hereby incorporate all allegations of the Complaint as though fully set forth herein.

   23. Plaintiff is a member of a protected group, that is, she is or was, at the time of termination
from employment, a disabled individual as defined by the Colorado Anti-Discrimination Act
C.R.S. §24-34-401(3) et seq.

    24. Plaintiff was also perceived or regarded by Defendant as disabled due to her severe eczema
that was not under control even with medication.

    25. Plaintiff’s disability substantially limited her in one or more major life activities, and
Defendant regarded her as being substantially limited in one or more major life activities due to
her disability.

    26. Plaintiff was otherwise qualified for the position she was performing, and was performing
her job in a satisfactory manner.

   27. When Plaintiff requested the reasonable accommodations of reduced handwashing and a
non-alcohol-based hand sanitizer, Defendant repeatedly denied the requests. Defendant failed to


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make any reasonable accommodation for Plaintiff’s disability. These reasonable accommodations
would not have placed any undue hardship on the Defendant.

    28. Plaintiff filed a Charge of Discrimination with the EEOC and CCRD on or about November
23, 2015 based on illegal disability discrimination in violation of the Americans with Disabilities
Act of 1990. She received a “right to sue” letter from the EEOC on or after March 6, 2017.

    29. Defendant consciously and purposefully discriminated against Plaintiff because of her
disability in violation of CADA by refusing to provide reasonable accommodations or even engage
in the interactive process, and by discharging her from her employment.

    30. Based on Defendant’s knowing and willful failure to accommodate Plaintiff’s disability,
and Plaintiff’s repeated requests for accommodation, Defendant took the adverse action of
termination.


                                THIRD CLAIM FOR RELIEF
                        (Discrimination on the Basis of a Disability-ADA)

    31. Plaintiffs hereby incorporate all allegations of the Complaint as though fully set forth
herein.

   32. Plaintiff hereby incorporate all allegations of the Complaint as though fully set forth herein.

    33. Plaintiff is a member of a protected group, that is, she is or was, at the time of termination
from employment, a disabled individual as defined by the Americans with Disabilities Act of 1990,
as amended, 42 U.S.C. § 12102(2).

    34. Plaintiff was also perceived or regarded by Defendant as disabled due to her severe eczema
that was not under control even with medication.

    35. Plaintiff’s disability substantially limited her in one or more major life activities, and
Defendant regarded her as being substantially limited in one or more major life activities due to
her disability.

    36. Plaintiff was otherwise qualified for the position she was performing, and was performing
her job in a satisfactory manner.

   37. When Plaintiff requested the reasonable accommodations of reduced handwashing and a
non-alcohol-based hand sanitizer, Defendant repeatedly denied the requests. Defendant failed to
make any reasonable accommodation for Plaintiff’s disability. These reasonable accommodations
would not have placed any undue hardship on the Defendant.




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    38. Plaintiff filed a Charge of Discrimination with the EEOC and CCRD on or about November
23, 2015 based on illegal disability discrimination in violation of the Americans with Disabilities
Act of 1990. She received a “right to sue” letter from the EEOC on or after March 6, 2017.

    39. Defendant consciously and purposefully discriminated against Plaintiff because of her
disability in violation of the Americans with Disabilities Act of 1990, as amended, by refusing to
provide reasonable accommodations or even engage in the interactive process, and by discharging
her from her employment.

    40. Based on Defendant’s knowing and willful failure to accommodate Plaintiff’s disability,
and Plaintiff’s repeated requests for accommodation, Defendant took the adverse action of
termination.

                               DOCUMENT PRESERVATION

   41. As part of discovery, Plaintiff will be requesting certain documents and information from
Defendant. Please note the document preservation instructions attached hereto.

                                   REQUEST FOR RELIEF

WHEREFORE, Plaintiff respectfully requests that the Court enter judgment in favor of them and
against Defendant as follows:
   1. Awarding Plaintiff declaratory and/or injunctive relief as permitted by law or equity;
   2. Awarding Plaintiff all economic and non-economic damages;
   3. Awarding Plaintiff her compensatory damages, attorneys’ fees and litigation expenses as
        provided by law;
   4. Awarding Plaintiff her pre-judgment, post-judgment and moratory interest as provided by
        law;
   5. Awarding Plaintiff statutory penalties as provided by law;

       Respectfully submitted this 30th day of May, 2017.


                                             ________________________
                                             Kelli R. Riley, Reg. #44828
                                             RILEY LAW LLC
                                             2005 West 9th Street, Suite 6
                                             Greeley, Colorado 80631

                                             Counsel for Plaintiff

       Address of Plaintiff:
       206 Larch Dr.
       Log Lane Village, CO 80705


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